Case 2:23-cv-00507-JRG-RSP               Document 55      Filed 03/24/25       Page 1 of 12 PageID #:
                                                812



                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE EASTERN DISTRICT OF TEXAS
                                     MARSHALL DIVISION

  MYCHOICE, LLC,                                    §
                                                    §
               Plaintiff,                           §
                                                    §
  v.                                                §       CIVIL ACTION NO. 2:23-CV-507-JRG-RSP
                                                    §
  TAIV, INC.,                                       §
                                                    §
               Defendant.                           §

                                     MEMORANDUM ORDER

         Before the Court is Defendant Taiv, Inc.’s Motion to Transfer Venue to the District of

 Massachusetts Pursuant to 28 U.S.C. § 1404(a). (Dkt. No. 14). For the reasons discussed below,

 the Motion is DENIED.

                                    I.     LEGAL STANDARD

         A federal district court may transfer a case “for the convenience of parties and witnesses”

 to “any other district or division where it might have been brought.” 28 U.S.C. § 1404(a). Section

 1404(a)’s threshold inquiry is whether the case could initially have been brought in the proposed

 transferee forum. In re Volkswagen AG, 371 F.3d 201, 202–03 (5th Cir. 2004) (“Volkswagen I”).

 The question of whether a suit “might have been brought” in the transferee forum encompasses

 subject matter jurisdiction, personal jurisdiction, and proper venue. Id. at 203. Only if this statutory

 requirement is met should the Court determine whether convenience warrants a transfer of the

 case. See id.; In re Volkswagen of Am., Inc., 545 F.3d 304, 312 (5th Cir. 2008) (“Volkswagen II”).

 The burden to prove that a case could have been brought in the transferee forum falls on the party

 seeking transfer. See Volkswagen II, 545 F.3d at 315; Humble Oil & Ref. Co. v. Bell Marine Serv.,

 Inc., 321 F.2d 53, 56 (5th Cir. 1963).

         Regarding the propriety of venue specifically, the Judicial Code provides that 28 U.S.C. §

                                                    1
Case 2:23-cv-00507-JRG-RSP             Document 55         Filed 03/24/25       Page 2 of 12 PageID #:
                                              813



 1400(b) is the “sole and exclusive provision controlling venue in patent infringement actions” and

 is not supplemented by the general venue statutes. TC Heartland LLC v. Kraft Foods Grp. Brands

 LLC, 581 U.S. 258, 266 (2017) (citing Fourco Glass Co. v. Transmirra Prod. Corp., 353 U.S. 222,

 229 (1957)). Pursuant to 28 U.S.C. § 1400(b), venue lies “in the judicial district where the

 defendant resides” or “where the defendant has committed acts of infringement and has a regular

 and established place of business.” 28 U.S.C. § 1400(b).

         Three elements must be met in order to establish that a defendant has a regular and

 established place of business in the district: (1) there must be a physical place in the district; (2) it

 must be a regular and established place of business; and (3) it must be the place of the defendant.

 In re: Cray Inc., 871 F.3d 1355, 1360 (Fed. Cir. 2017).

         Once the moving party has established that the instant case could have been brought in the

 transferee forum, the Court moves on to consider the private and public factors provided in

 Volkswagen I. The private interest factors are “(1) the relative ease of access to sources of proof;

 (2) the availability of compulsory process to secure the attendance of witnesses; (3) the cost of

 attendance for willing witnesses; and (4) all other practical problems that make trial of a case easy,

 expeditious and inexpensive.” Volkswagen II, 545 F.3d at 315 (quoting Volkswagen I, 371 F.3d at

 203). The public interest factors are “(1) the administrative difficulties flowing from court

 congestion; (2) the local interest in having localized interests decided at home; (3) the familiarity

 of the forum with the law that will govern the case; and (4) the avoidance of unnecessary problems

 of conflict of laws [or in] the application of foreign law.” Id. (quoting Volkswagen I, 371 F.3d at

 203) (alterations in original). The factors are neither exclusive nor exhaustive, and no one factor

 is dispositive. Id.

         “It is the movant’s burden—and the movant’s alone—to adduce evidence and arguments



                                                    2
Case 2:23-cv-00507-JRG-RSP            Document 55        Filed 03/24/25       Page 3 of 12 PageID #:
                                             814



 that clearly establish good cause for transfer based on convenience and justice.” In re Clarke, 94

 F.4th 502, 508 (5th Cir. 2024) (citing Def. Distributed v. Bruck, 30 F.4th 414, 433 (5th Cir. 2022)).

 “[S]howing ‘good cause’ requires the movant to ‘clearly demonstrate’ that its chosen venue is

 ‘clearly more convenient.’ Id. That standard is not met if the movant merely shows that the

 transferee venue is more likely than not to be more convenient. Id. Likewise, the fact that litigating

 would be more convenient for the defendant elsewhere is not enough to justify transfer. Id.”

         “Accordingly, to establish good cause, a movant must show (1) that the marginal gain in

 convenience will be significant, and (2) that its evidence makes it plainly obvious—i.e., clearly

 demonstrated—that those marginal gains will actually materialize in the transferee venue.” Id.

 (emphasis in original).

         In considering a transfer under § 1404(a), the Court may consider undisputed facts outside

 of the pleadings but must draw all reasonable inferences and resolve factual disputes in favor of

 the non-movant. See Vocalife LLC v. Amazon.com, Inc., No. 2:19-cv-00123, 2019 U.S. Dist.

 LEXIS 205696, 2019 WL 6345191, at *2 (E.D. Tex. Nov. 27, 2019); cf. Trois v. Apple Tree

 Auction Cent. Inc., 882 F.3d 485, 492-93 (5th Cir. 2018) (reviewing a transfer under § 1406);

 Ambraco, Inc. v. Bossclip B.V., 570 F.3d 233, 238 (5th Cir. 2009) (reviewing enforcement of a

 forum-selection clause).

                                        II.    ANALYSIS

        In re Clarke shows that motion to transfer under 1404(a) carries a substantial burden. See

 generally, In re Clarke, 94 F.4th 502. Here, Taiv has failed to meet that burden.

            A. Propriety of the Transferee Forum

        Taiv argues that as a foreign defendant, it is subject to suit in any judicial district that has

 personal jurisdiction over it. Dkt. No. 14 at 5 (citing 28 U.S.C. § 1391(c)(3); Brunette Mach.



                                                   3
Case 2:23-cv-00507-JRG-RSP                   Document 55            Filed 03/24/25          Page 4 of 12 PageID #:
                                                    815



 Works, Ltd. v. Kockum Indus., Inc., 406 U.S. 706, 709–10 (1972)); In re HTC Corp., 889 F.3d

 1349, 1356–61 (Fed. Cir. 2018)); see also TC Heartland LLC v. Kraft Foods Grp. Brands LLC,

 581 U.S. 258, 268 n.2 (2017) (reserving question of patent venue statute’s applicability to foreign

 corporations). Thus, the only question is whether the transferee court could exercise personal

 jurisdiction over it. Taiv argues that it is subject to personal jurisdiction in Massachusetts. Dkt.

 No. 14 at 6. First, it argues that it has sold the accused product to at least one customer in

 Massachusetts. Id. (citing Dkt. No. 14-2 at ¶ 6 and Exhibit 1). Second, Taiv argues that the activity

 of selling the accused product to a Massachusetts company clearly relates to the allegation of patent

 infringement. Id. at 7. Third, Taiv argues that the exercise of jurisdiction would be reasonable in

 Massachusetts. Id.

          MyChoice responds that at the time of filing the suit it could not have brought the suit in

 Massachusetts. Dkt. No. 17 at 6. 1 MyChoice accuses Taiv of backdating its certificate of

 acceptance for its Massachusetts location. Id. MyChoice has no direct evidence for this serious

 allegation, instead it relies on speculation from its Managing member. The Court reproduces

 MyChoice’s argument below:

          MyChoice has many reasons to believe that the Certificate of Acceptance for the
          Massachusetts location was backdated to a pre-suit date in 2023, including: (1) the
          one loan location now claimed in Massachusetts is isolated where at least in 2023
          Taiv tried to open entire markets at the same time; (2) Taiv has now removed all
          locations from its web site, where it used to list them all; and (3) Taiv began altering
          its contracts after this suit was filed to switch its contracts to Taiv USA Inc. and
          away from Taiv itself so as to position itself to claim jurisdiction and venue in
          Delaware, where Tavi USA Inc. was incorporated. Dkt. No. 17-3, at ¶ 20 Dkt. Nos.
          17-21, 22. On top of all this, MyChoice, before filing suit, scoured Taiv’s web site
          looking for venues with proper jurisdiction, it found no Taiv location in
          Massachusetts, and concluded it could not at that time file suit in Massachusetts.
          Dkt. No. 17-3, at ¶ 20. There is substantial, even compelling, doubt, taken from

 1
   The Court notes that MyChoice has not complied with Local Rule CV-7(a), which requires that “[m]otions,
 responses, replies, and proposed orders, if filed electronically, shall be submitted in ‘searchable PDF’ format and shall
 not contain restrictions or security settings that prohibit copying, highlighting, or commenting.” The Court expects
 MyChoice to strictly comply with this Order in future filings and reserves the right to strike them if they do not comply.

                                                             4
Case 2:23-cv-00507-JRG-RSP            Document 55        Filed 03/24/25      Page 5 of 12 PageID #:
                                             816



        Taiv’s own web site just before suit, that Taiv’s late-appearing infringing
        Massachusetts location did not exist pre-suit.

        Dkt. No. 17 at 6–7 (internal citations altered). MyChoice next argues that personal

 jurisdiction would be improper and unreasonable in Massachusetts because there was one alleged

 contact in Massachusetts and hundreds of contacts in Texas. Id. at 7.

        Taiv has shown that Massachusetts courts would have jurisdiction over it. The Court does

 not find MyChoice’s allegations of fabrication or “backdating” to be sufficiently supported. The

 Court expects parties to produce evidence beyond speculation when making such serious

 accusations. Furthermore, MyChoice’s argument about Texas having more contacts with the suit

 than Massachusetts is misplaced. The relevant inquiry for personal jurisdiction is not to compare

 forums but to evaluate whether a forum has sufficient contacts—multiple forums can properly

 exercise personal jurisdiction over a defendant.

            B. Balancing the Private and Public Factors

        The Fifth Circuit directs courts to avoid a mere tallying of the factors in resolving this

 dispute. See In re Radmax, Ltd., 720 F.3d 285, 290 n.8 (5th Cir. 2013) (“We do not suggest—nor

 has this court held—that a raw counting of the factors in each side, weighing each the same and

 deciding transfer only on the resulting ‘score,’ is the proper methodology.”). To that end, the Court

 considers not only each factor’s outcome but also its weight to determine whether the actual

 convenience of the proposed transferee forum is “clearly more convenient” than that of this

 district. In re Chamber of Commerce of United States of Am., 105 F.4th 297, 310 (5th Cir.

 2024) (quoting In re Clarke, 94 F.4th at 508).

                    1. Private Interest Factors




                                                    5
Case 2:23-cv-00507-JRG-RSP            Document 55       Filed 03/24/25      Page 6 of 12 PageID #:
                                             817



                              a. Ease of Access to Sources of Proof

         Taiv argues that all of its documents and physical evidence is located in Canada. Dkt. No.

 14 at 9. It also argues that any evidence that may be found at customer sites is not unique and thus

 would be equally accessible in Massachusetts. Id. Taiv then argues that MyChoice’s documents

 are likely to be found in Massachusetts. Id. Taiv specifically points to MyChoice’s own prior art

 system that it claims is invalidating and was developed in Massachusetts. Id. Taiv points to other

 evidence that would be in Massachusetts based on this prior art system, such as information

 published by a MyChoice affiliated public relations consultant and evidence from customers of the

 MyChoice prior art system. Id. at 10.

         MyChoice responds that by the time that Taiv filed its Motion, MyChoice’s managing

 member, Mr. Theriault, had moved from Massachusetts to New Orleans, Louisiana with all of

 MyChoice’s documents, which are electronically stored. Dkt. No. 17 at 8, 9. As to the prior art

 related documents, MyChoice represents that they are all electronically stored and under the

 control of Mr. Theriault in New Orleans. Id. at 9. MyChoice also argues that the evidence of

 infringement will come from the physical products located in bars around Texas. Id. at 10.

 Additionally, MyChoice argues that it has not had customers for the prior art system for over seven

 years. Id. at 9. Finally. MyChoice argues that the Patent Office looked at MyChoice’s previous

 patent when it granted its Asserted Patent. Id.

         The Court finds that this factor is neutral. MyChoice does not argue that Taiv’s documents

 are more easily accessible in Texas than in Massachusetts, so the inquiry focuses on MyChoice’s

 documentary evidence, the accused infringing products, and third-party evidence regarding

 invalidity.




                                                   6
Case 2:23-cv-00507-JRG-RSP            Document 55        Filed 03/24/25      Page 7 of 12 PageID #:
                                             818



                                    i. MyChoice’s Evidence

        The location of MyChoice’s documents is a neutral factor. First, MyChoice avers that its

 evidence is all stored electronically. While courts should consider “the location of document

 custodians and [the] location[s] where documents are created and maintained,” (In re Google LLC,

 No. 2021-178, 2021 WL 5292267, at *2 (Fed. Cir. Nov. 15, 2021)), “[w]hen the vast majority of

 the evidence is electronic, and therefore equally accessible in either forum, this factor bears less

 strongly on the transfer analysis” (In re TikTok, Inc., 85 F.4th 352, 358 (5th Cir. 2023) (cleaned

 up) (quoting In re Planned Parenthood Fed’n Am., Inc., 52 F.4th 625, 630 (5th Cir. 2022))). Thus,

 although Mr. Theriault now resides in New Orleans, MyChoice’s documentary evidence is equally

 accessible in either forum.

                                    ii. Accused Infringing Products

        The location of the accused infringing products is also a neutral factor. While MyChoice

 argues that there are more bars featuring the accused products in Texas than there are in

 Massachusetts, the quantity is irrelevant. There is no indication that the products are not identical,

 so inspecting more than one would not lead to more evidence to prove infringement. Moreover,

 much of the evidence of infringement likely will come from the inspection of source code and

 technical documents as opposed to the physical products. See Dkt. No.37 (Plaintiff’s Motion to

 Compel technical documents and source code).

                                    iii. Prior Art Documents

        Prior art related documents are not more easily located in Massachusetts than in Texas.

 Taiv points to speculative evidence from third parties (including customers and PR specialists)

 about prior art that would support its invalidity position. MyChoice’s rebuttal indicates that no

 evidence could exist for its prior art system because it only had customers for the system over



                                                   7
Case 2:23-cv-00507-JRG-RSP            Document 55        Filed 03/24/25      Page 8 of 12 PageID #:
                                             819



 seven years ago. Taiv does not identify specific evidence that the PR consultant would have that

 MyChoice lacks. Nor does Taiv profess any level of confidence in finding customers of the prior

 art system in Massachusetts. As the Fifth Circuit recently held, the movant must show “that its

 evidence makes it plainly obvious—i.e., clearly demonstrated—that those marginal gains will

 actually materialize in the transferee venue.” In re Clarke, 94 F.4th at 508. The availability of a

 witness is best addressed in the next category.

                              b. Availability of Compulsory Process

         For the next factor, Taiv points to several sets of witnesses that are within the subpoena

 power of the District of Massachusetts but not the Eastern District of Texas. Dkt. No. 14 at 10–11.

 The first set is early customers of MyChoice’s prior art system. Id. at 11. The next is MyChoice’s

 public relations consultant. Id. Next is MyChoice employees residing in Massachusetts. Finally,

 Taiv points to the representatives of its customer in Massachusetts. Id.

         MyChoice points out that Taiv has not pointed out a single unwilling witness. Dkt. No. 17

 at 10. Additionally, MyChoice asserts that one of its former employees is now deceased and the

 other had nothing to do with the technology and now resides in Maine and Georgia. Id. MyChoice

 asserts that the public relations consultant has no information about the Asserted Patent in this

 case. MyChoice also points out specific bars in Texas where Taiv accused products are used. Id.

 at 10–11. Additionally, it argues that this Court could compel witnesses from the Texas customers

 to sit for a deposition.

         This factor slightly favors transfer. First, as to customers of the prior art system, Taiv has

 not specifically identified any specific customers nor indicated that it would actually be able to

 find any of them after such a long period of time, so these do not factor in favor of Taiv’s motion.

 Next, Taiv identifies the public relations consultant as a potentially relevant witness for their



                                                   8
Case 2:23-cv-00507-JRG-RSP            Document 55        Filed 03/24/25      Page 9 of 12 PageID #:
                                             820



 invalidity argument. This witness factors in favor of transfer to Massachusetts, where she is subject

 to that court’s subpoena power. While MyChoice asserts that its former employee had nothing to

 do with the technology at issue, the Court believes that Defendant is entitled to probe that assertion

 and thus that witness factors in favor of transfer. Finally, the current customers are a neutral

 component because to the extent the customers are relevant, there are customers subject to the

 subpoena power of both courts.

                              c. Cost of Attendance for Willing Witnesses

        The next private interest factor is the cost of attendance for willing witnesses.

        Taiv argues that the District of Massachusetts is equally accessible as this district for its

 witnesses. Dkt. No. 14 at 12. However, Taiv argues that the District of Massachusetts. is far more

 convenient for MyChoice’s witnesses because there are no MyChoice party witnesses in Texas.

 Id.

        MyChoice responds that its “key and sole party witness,” Mr. Theriault, resides in New

 Orleans, Louisiana and thus is much closer to this district than to the District of Massachusetts.

 Dkt. No. 17 at 11–12. MyChoice further argues that the distance from Winnipeg, Canada to

 Marshall, Texas is about 500 miles closer than from Winnipeg to Boston. Id. at 12.

        The cost of attendance for willing witnesses factor has been described as the most

 important factor to weigh. In re Genentech, 566 F.3d 1338, 1343 (Fed. Cir. 2009). The Fifth Circuit

 uses the “100-mile rule”: when the distance between the transferor and proposed transferee venues

 exceeds 100 miles, “the factor of inconvenience to witnesses increases in direct relationship to the

 additional distance to be traveled.” Volkswagen I, 371 F.3d at 201; In re Genentech, 566 F.3d at

 1343; In re Apple Inc., 979 F.3d 1332, 1341 (Fed. Cir. 2020).




                                                   9
Case 2:23-cv-00507-JRG-RSP             Document 55         Filed 03/24/25      Page 10 of 12 PageID #:
                                               821



          This factor weighs against transfer. MyChoice’s key witness, Mr. Theriault, is clearly much

 closer to Marshall than he is to Boston. The Court finds that Taiv’s witnesses’ burden to travel to

 Marshall is about equal to traveling to Boston.

                                d. Other Practical Problems

          Neither Taiv nor MyChoice identify any other practical problems. Dkt. No. 14 at 12; Dkt.

 No. 17 at 12. Thus, this factor is neutral.

                      2. Public Factors

                                a. Court Congestion

          Taiv’s section caption claims that “the ‘Court Congestion’ factor is neutral,” but the body

 of its Motion says that “this factor slightly favors transfer.” Dkt. No. 14 at 12, 13. Taiv argues that

 time to disposition is about one month faster in the District of Massachusetts than in this district

 and the District of Massachusetts has half as many civil cases and trials on a per-judge basis. Id.

 at 13.

          MyChoice responds that Taiv’s statistics are unhelpful. Dkt. No. 17 at 12. First, it argues

 that the statistics do not break down time to disposition by case type and thus do not factor in the

 typical complexity of a patent trial. Id. Next, MyChoice argues that the District of Massachusetts

 does not have specialized local patent rules. Id. Finally, MyChoice argues that this case has been

 pending in this Court since early November 2023, so a transfer would necessarily delay the case.

 Id. at 12–13.

          The Court finds that this factor is neutral. Taiv’s statistics are too general to be helpful and

 MyChoice does not provide any relevant factors in support of keeping the case here.




                                                    10
Case 2:23-cv-00507-JRG-RSP           Document 55        Filed 03/24/25      Page 11 of 12 PageID #:
                                             822



                              b. Local Interest

        Taiv argues that the “local interest” factor favors the District of Massachusetts. Dkt. No.

 14 at 13. First, it argues that the design, development, and sale of the accused products occurred

 in Canada, so that component is neutral. Id. It then argues that MyChoice is a Massachusetts

 company, and its design and development efforts happened there. Id.

        MyChoice argues that the relevant test is the connections between a particular venue and

 the events that give rise to the suit, not the parties. Dkt. No. 17 at 13 (quoting In re Clarke, 94

 F.4th at 511). MyChoice argues that the events that gave rise to the suit overwhelmingly occurred

 in Texas as compared to Massachusetts. Id.

        The Court finds that this factor is neutral. While courts look to the location of the design

 and development of the accused infringing products, Taiv does not point out the relevance of the

 design and development of the asserted patent. See R2 Sols. LLC v. Databricks Inc., No. 4:23-CV-

 1147, 2024 WL 4932719, at *6 (E.D. Tex. Dec. 2, 2024), mandamus denied, sub nom. In re

 Databricks, Inc., No. 2025-113, 2025 WL 685916 (Fed. Cir. Mar. 4, 2025). For its part, MyChoice

 does not point to any alleged infringing acts in this district but relies on alleged infringement in

 other parts of Texas. The analysis is by district, not by state. Volkswagen II, 545 F.3d at 318.

                              c. Familiarity With Law and Conflict of Law

        Both Parties agree that these factors are neutral. Dkt. No. 14 at 13; Dkt. No. 17 at 13.

                                     III.   CONCLUSION

        After reviewing each factor, one factor, Compulsory Process, slightly favors transfer, and

 one factor—arguably the most important factor—Cost of Attendance for Willing Witnesses,

 disfavors transfer. The remaining factors are neutral. Thus, the Court finds that Taiv has failed to




                                                  11
Case 2:23-cv-00507-JRG-RSP          Document 55      Filed 03/24/25     Page 12 of 12 PageID #:
                                            823



 carry its burden to show that the District of Massachusetts is clearly more convenient than this

 District.

         The Motion to Transfer (Dkt. No. 14) is DENIED.
          SIGNED this 3rd day of January, 2012.
             SIGNED this 23rd day of March, 2025.




                                                     ____________________________________
                                                     ROY S. PAYNE
                                                     UNITED STATES MAGISTRATE JUDGE




                                               12
